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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION,
et. al.,

                         Plaintiffs,
                         v.
                                                                        No. 1:25-cv-00381-ABJ
RUSSELL VOUGHT, in his official capacity as
Acting Director of the Consumer Financial protection
Bureau, et al.,
                       Defendants.

             THE STATES’ SUPPLEMENTAL MEMORANDUM IN RESPONSE
                    TO THE COURT’S FEBRUARY 27, 2025 ORDER

        The States respectfully submit this supplemental memorandum in response to the Court’s

February 27, 2025 order, which directed the States to “explain[] the relevance of the complained-

of harm to the States, as opposed to the public at large, given that the States are not a party to this

action.” 1

        The complained-of harm to the States is relevant in two ways. First, such harm constitutes

a distinctive form of harm to the public at large that warrants separate consideration because of the

particular role that States play in our federalist system. That harm thus warrants the Court’s

consideration for purposes of assessing whether the requirements for a preliminary injunction have

been satisfied here. See League of Women Voters of United States v. Newby, 838 F.3d 1, 6 (D.C.

Cir. 2016) (listing preliminary injunction factors); see also TikTok Inc. v. Trump, 507 F. Supp. 3d

92, 114 (D.D.C. 2020) (noting that it is appropriate to “consider the impacts of the injunction on

nonparties as well”) (citing Pursuing America’s Greatness v. Fed. Election Comm., 831 F.3d 500,

511 (D.C. Cir. 2016)).


1
 Capitalized terms used in this supplemental memorandum have the same meaning as in the States’ brief of amici
curiae. See ECF No. 24.

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       In opposing the motion for the preliminary injunction, defendants claim that the federal

government alone speaks for the public. (ECF No. 31 at 38-39.) That position ignores the

fundamental tenet that, in our federalist system, States are equal—not subordinate—sovereign

entities charged to protect the public interest. After all, “the States possess sovereignty concurrent

with that of the Federal Government,” and “a healthy balance of power between the States and the

Federal Government will reduce the risk of tyranny and abuse from either front.” Gregory v.

Ashcroft, 501 U.S. 452, 457-58 (1991).

       And as we have explained, the CFPB’s abdication of its statutorily mandated functions—

including its failure to engage in statutorily mandated supervision and its sudden withdrawal from

activities coordinated with the States, including pending litigation matters—has immediately

disrupted the States’ efforts to protect the States’ residents in numerous ways. See 12 U.S.C.

§§ 5514; 5515 (requiring the CFPB’s supervision of very large banks and nonbank entities and

requiring coordination with states). We noted, as just one example, CFPB v. Credit Acceptance

Corporation, No. 23-cv-00038 (S.D.N.Y.), an ongoing litigation in which New York partnered

with the CFPB to address a predatory auto lending scheme, where the CFPB abruptly terminated—

without any notice to New York—an expert contract that both parties had agreed to rely upon for

the litigation. And the CFPB’s across-the-board halt of its statutorily mandated supervision work

has already had an adverse impact on approximately half a dozen bank examinations that CFPB

was conducting jointly with California, some of which had already begun in late 2024 and thus

were immediately disrupted when the CFPB’s supervision team shut down pursuant to the Acting

Director’s orders. The abrupt termination of CFPB’s role in these joint activities, a role on which

the States were justifiably relying, would impair the States’ performance of their own consumer

protection activities, thereby harming the public interest in the States’ activities, and interim relief



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is justified to protect the States and thereby prevent that harm. Moreover, if relief is not granted,

the States will need to divert resources from other crucial law-enforcement efforts to fill the void

created by the CFPB’s absence, a consequence that is likewise relevant to this Court’s

consideration of the public interest. And, most fundamentally, it is the States’ residents who must

bear the brunt of the harms that defendants are causing. The States have thereby identified a

distinctive form of harm to the public interest—impairment of the States’ performance of one of

their essential functions— that the Court can and should consider here.

       Second, the complained-of harm that defendants’ actions are already causing to the States

and their residents is relevant because it amplifies the harms identified by parties to this case,

namely the consumer-oriented plaintiffs. The States’ consumer-protection activities uniquely

situate them to provide information that is directly relevant to the Court’s assessment of the

irreparable harm that those plaintiffs face.


Dated: February 28, 2025                          Respectfully submitted,

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